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UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF FLORIDA
TAMPA DIVISION

UNITED STATES OF AMERICA

V. CASE NO. 8:20-CR-77-CEH
JOSE ISMAEL IRIZARRY

PLEA AGREEMENT

Pursuant to Fed. R. Crim. P. 11(c), the United States of America, by
and through the Money Laundering and Asset Recovery Section of the United
States Department of Justice Criminal Division and the United States
Attorney’s Office for the Northern District of Georgia (together, “the
Government”), and the defendant, JOSE ISMAEL IRIZARRY, aka Jose
Ismael Irizarry Soto (the “Defendant”’), and the attorney for the Defendant,

Humberto R. Dominguez, mutually agree as follows:

A. Particularized Terms

1. Counts Pleading To

The Defendant shall enter a plea of guilty to Counts One through
Nineteen of the Indictment. Count One charges the Defendant with
conspiring to commit money laundering, in violation of 18 U.S.C. § 1956(h).
Counts Two through Five charge the Defendant with honest services wire

fraud, in violation of 18 U.S.C. §§ 1343 and 1346. Count Six charges the

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Defendant with conspiring to commit bank fraud, in violation of 18 U.S.C.
§ 1349. Counts Seven through Twelve charge the Defendant with bank fraud,
in violation of 18 U.S.C. § 1344. Count Thirteen charges the Defendant with
conspiring to commit aggravated identity theft, in violation of 18 U.S.C. § 371.
Counts Fourteen through Nineteen charge the Defendant with aggravated
identity theft, in violation of 18 U.S.C. § 1028A.

2. Maximum Penalties

Count One carries a maximum sentence of twenty years
imprisonment, a fine of not more than $500,000 or twice the value of the
monetary instrument or funds involved in the transportation, transmission, or
transfer, whichever is greater, and a term of supervised release of not more
than three years.

Counts Two through Twelve carry a maximum sentence of thirty
years imprisonment, a fine of not more than $1,000,000 and a term of
supervised release of not more than five years.

Count Thirteen carries a maximum sentence of five years
imprisonment, a fine of not more than $500,000 and a term of supervised
release of not more than three years.

Counts Fourteen through Nineteen carry a mandatory sentence

of two years imprisonment, which must be imposed to run consecutive to any

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sentence of imprisonment imposed on Counts Six through Twelve, and a term
of supervised release of not more than three years.

With respect to certain offenses, the Court shall order the
Defendant to make restitution to any victim of the offense, and with respect to
other offenses, the Court may order the Defendant to make restitution to any
victim of the offense, or to the community, as set forth below.

3. Elements of the Offense

The Defendant acknowledges understanding the nature and
elements of the offense with which the Defendant has been charged and to
which Defendant is pleading guilty.

The elements of Count One, charging conspiracy to commit
money laundering, are:

One: two or more people agreed to try to accomplish a common
and unlawful plan to violate 18 U.S.C. § 1956; and

Two: the Defendant knew about the plan’s unlawful purpose
and voluntarily joined in it.

The elements of Counts Two through Five, charging honest
services wire fraud, are:
One: the Defendant knowingly devised or participated in a
scheme to fraudulently deprive the public of the right to
honest services of the Defendant through bribery or

kickbacks;

Two: the Defendant did so with an intent to defraud the public

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of the right to the Defendant’s honest services; and,

Thiee: the Defendant transmitted or caused to be transmitted by
wire, radio, or television some communication in
interstate commerce to help carry out the scheme to
defraud.

The elements of Count Six, charging conspiracy to commit bank

fraud, are:

First: two or more people agreed to try to accomplish a common
and unlawful plan to violate 18 U.S.C. § 1344; and

Two: the Defendant knew about the plan’s unlawful purpose
and voluntarily joined in it.

The elements of Counts Seven through Twelve, charging bank
fraud, are:

One: the Defendant knowingly carried out or attempted to carry
out a scheme to defraud a financial institution or to get
money, assets, or other property from a financial
institution by using false or fraudulent pretenses,
representations, or promises about a material fact;

Two: the false or fraudulent pretenses, representations, or
promises were material;

Three: the Defendant intended to defraud the financial institution;
and,

Four: the financial institution was federally insured.

 

The elements of Count Thirteen, charging conspiracy to defraud

the United States, are:

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One: two or more persons in some way agreed to try to
accomplish a shared and unlawful plan;

Two: the Defendant knew the unlawful purpose of the plan and
willfully joined in it;

Three: during the conspiracy, one of the conspirators knowingly
engaged in at least one overt act as described in the
indictment; and,

Four: the overt act was committed at or about the time alleged

and with the purpose of carrying out or accomplishing
some object of the conspiracy.

The elements of Count Fourteen through Nineteen, charging
aggravated identity theft, are:

One: the Defendant knowingly transferred, possessed, or used
another person’s name or means of identification;

Two: without lawful authority; and,

Three: during and in relation to bank fraud.

4. No Further Charges

If the Court accepts this Plea Agreement, the Government agrees
not to charge the Defendant with committing any other federal criminal
offenses known to the Government at the time of the execution of this
agreement.

5, Guidelines Sentence
Although the United States Sentencing Guidelines (the

“Guidelines”) are only advisory and just one factor that the Court will

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consider under 18 U.S.C. § 3553(a) in imposing a sentence, the Government

and the Defendant will jointly recommend the following minimum Base

Offense Level, Specific Offense Characteristics, Adjustments and Departures:

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Base Offense Level (“BOL”) pursuant to USSG § 2S1.1(a)(2):
8

BOL increased under § 2B1.1(J) - amount of laundered funds
was over $3.5 million and less than $9.5 million:

+18

Increase under § 2S1.1(b)(2)(C) - the defendant was in the
business of laundering funds:

+4

Increase due to role as Organizer under § 3B1.1(c) - the
defendant was an organizer, leader, manager or supervisor of
criminal activity involving co-Defendant Nathalia Gomez-
Irizarry:

+2

Increase due to abuse of public trust under § 3B1.3 - the
defendant abused a position of public or private trust, or used
a special skill, in a manner that significantly facilitated the
commission or concealment of the offense:

+2

Decrease for Acceptance of Responsibility under § 3E1.1 — see
proceeding Paragraph 7 of this Plea Agreement for further
explanation:

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g. Total adjusted Guidelines offense level:
= 31

The parties understand that such a recommendation is not
binding on the Court and that, if it is not accepted by this Court, neither the
United States nor the Defendant will be allowed to withdraw from the Plea
Agreement, and the Defendant will not be allowed to withdraw his plea of
guilty.

6. Additional Specific Offense Characteristic

In addition to the Base Offense Level, Specific Offense
Characteristics, Adjustments, and Departures agreed to by both parties in the
previous paragraph, the Defendant understands and expects that the
Government will argue at sentencing for an additional 6-level increase under
USSG § 2S1.1(b)(1)@) because the Government’s position is that the
Defendant knew or believed that any of the laundered funds were the proceeds
of, or were intended to promote an offense involving the manufacture,
importation, or distribution of a controlled substance or a listed chemical. The
Defendant understands that if the Government’s position on USSG §
2S1.1(b)(1)(i) is accepted by the Court, the Defendant’s total adjusted

Guidelines offense level shall be 37.

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The Defendant does not and will not dispute any facts in the
Factual Basis section of this Plea Agreement, but reserves the right to argue at
sentencing, without introducing new facts, that USSG § 2S1.1(b)(1)@) does not
apply to the calculation of his Guidelines offense level because the Defendant
believes it requires a legal impossibility in this case. Specifically, the
Defendant reserves the right to argue at sentencing that drug proceeds
interdicted by the DEA during an undercover operation cannot continue to be
proceeds, for the purpose of USSG § 2S1.1(b)(1)@), once they are interdicted.
The Defendant believes that his position is supported by United States v.
Breque, 964 F.2d 381 (5th Cir. 1992). The Defendant understands that the
Government’s position at sentencing will be that Breque does not control the
issue and that USSG § 2S1.1(b)(1)(i) indeed applies to the Defendant as a
matter of law.

The Defendant understands that Pretrial Services, and/or
ultimately the Court, may agree with the Government that USSG §
281.1(b)(1)(i) applies and, therefore, may be included in the Defendant’s
Guidelines calculation by the Court. The Defendant further understands that
the Court may take into account the application of this Guidelines
enhancement when determining the Defendant’s sentence pursuant to 18

U.S.C. § 3553(a). In such an event, the parties agree that the Defendant

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retains his right to appeal the Court’s application of USSG § 281.1(b)(1)@)
based on the singular issue of legal impossibility regarding the laundering of
drug proceeds interdicted by law enforcement. The Defendant understands
and expects that the Government would oppose any such appeal.

Should USSG § 2S1.1(b)(1)G@) ultimately apply to his sentence,
including after an unsuccessful appellate challenge, the Defendant understands
and agrees that the Defendant will not be allowed to withdraw from the Plea
Agreement, nor will the Defendant be allowed to withdraw his plea of guilty.

7. Acceptance of Responsibility - Three Levels

At the time of sentencing, and in the event that no adverse
information is received suggesting such a recommendation to be unwarranted,
the Government will recommend to the Court that the Defendant receive a
two-level downward adjustment for acceptance of responsibility, pursuant to
USSG § 3E1.1(a). The Defendant understands that this recommendation or
request is not binding on the Court, and if not accepted by the Court, the
Defendant will not be allowed to withdraw from the Plea Agreement.

Further, at the time of sentencing, if the Defendant's offense level
prior to operation of subsection (a) is level 16 or greater, and if the Defendant
complies with the provisions of USSG § 3E1.1(b) and all terms of this Plea

Agreement, including but not limited to, the timely submission of the financial

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affidavit referenced in Paragraph B.5, the United States agrees to file a motion
pursuant to USSG § 3E1.1(b) for a downward adjustment of one additional
level. The Defendant understands that the determination as to whether the
Defendant has qualified for a downward adjustment of a third level for
acceptance of responsibility rests solely with the Government, and the
Defendant agrees that the Defendant cannot and will not challenge that
determination, whether by appeal, collateral attack, or otherwise.

8. Cooperation - Substantial Assistance to be Considered

The Defendant agrees to cooperate fully with the United States in

the investigation and prosecution of other persons, and to testify, subject to a
prosecution for perjury or making a false statement, fully and truthfully before
any federal court proceeding or federal grand jury in connection with the
charges in this case and other matters, such cooperation to further include a
full and complete disclosure of all relevant information, including production
of any and all books, papers, documents, and other objects in Defendant's
possession or control, and to be reasonably available for interviews which the
United States may require. If the cooperation is completed prior to
sentencing, the government agrees to consider whether such cooperation
qualifies as "substantial assistance" in accordance with the policies of the

Government, warranting the filing of a motion at the time of sentencing

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recommending (1) a downward departure from the applicable guideline range
pursuant to USSG § 5K1.1, or (2) the imposition of a sentence below a
statutory minimum, if any, pursuant to 18 U.S.C. § 3553(e), or (3) both. Ifthe
cooperation is completed subsequent to sentencing, the Government agrees to
consider whether such cooperation qualifies as "substantial assistance" in
accordance with the policies of the Government, warranting the filing of a
motion for a reduction of sentence within one year of the imposition of
sentence pursuant to Fed. R. Crim. P. 35(b). In any case, the Defendant
understands that the determination as to whether “substantial assistance” has
been provided or what type of motion related thereto will be filed, if any, rests
solely with the Government, and the Defendant agrees that Defendant cannot
and will not challenge that determination, whether by appeal, collateral attack,
or otherwise.

9, Use of Information - Section 1B1.8

Pursuant to USSG §1B1.8(a), the United States agrees that no self-
incriminating information which the Defendant may provide during the
course of Defendant's cooperation and pursuant to this agreement shall be
used in determining the applicable sentencing guideline range, subject to the

restrictions and limitations set forth in USSG § 1B1.8(b).

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10. Cooperation - Responsibilities of Parties

a. The Government will make known to the Court and other
relevant authorities the nature and extent of the Defendant's cooperation and
any other mitigating circumstances indicative of the Defendant's rehabilitative
intent by assuming the fundamental civic duty of reporting crime. However,
the Defendant understands that the Government can make no representation
that the Court will impose a lesser sentence solely on account of, or in
consideration of, such cooperation.

b. It is understood that should the Defendant knowingly
provide incomplete or untruthful testimony, statements, or information
pursuant to this agreement, or should the Defendant falsely implicate or
incriminate any person, or should the Defendant fail to voluntarily and
unreservedly disclose and provide full, complete, truthful, and honest
knowledge, information, and cooperation regarding any of the matters noted
herein, the following conditions shall apply:

(1) The Defendant may be prosecuted for any perjury
or false declarations, if any, committed while testifying pursuant to this
agreement, or for obstruction of justice.

(2) The United States may prosecute the Defendant for

the charges which are to be dismissed pursuant to this agreement, if any, and

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may either seek reinstatement of or refile such charges and prosecute the
Defendant thereon in the event such charges have been dismissed pursuant to
this agreement. With regard to such charges, if any, which have been
dismissed, the Defendant, being fully aware of the nature of all such charges
now pending in the instant case, and being further aware of Defendant's rights,
as to all felony charges pending in such cases (those offenses punishable by
imprisonment for a term of over one year), to not be held to answer to said
felony charges unless on a presentment or indictment of a grand jury, and
further being aware that all such felony charges in the instant case have
heretofore properly been returned by the indictment of a grand jury, does
hereby agree to reinstatement of such charges by rescission of any order
dismissing them or, alternatively, does hereby waive, in open court,
prosecution by indictment and consents that the United States may proceed by
information instead of by indictment with regard to any felony charges which
may be dismissed in the instant case, pursuant to this plea agreement, and the
Defendant further agrees to waive the statute of limitations and any speedy
trial claims on such charges.

(3) The United States may prosecute the Defendant for
any offenses set forth herein, if any, the prosecution of which in accordance

with this agreement, the United States agrees to forego, and the Defendant

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agrees to waive the statute of limitations and any speedy trial claims as to any
such offenses.

(4) The Government may use against the Defendant
the Defendant’s own admissions and statements and the information and
books, papers, documents, and objects that the Defendant has furnished in the
course of the Defendant's cooperation with the Government.

(5) The Defendant will not be permitted to withdraw
the guilty pleas to those counts to which the Defendant hereby agrees to plead
in the instant case but, in that event, the Defendant will be entitled to the
sentencing limitations, if any, set forth in this Plea Agreement, with regard to
those counts to which the Defendant has pled; or in the alternative, at the
option of the United States, the United States may move the Court to declare
this entire Plea Agreement null and void.

11. Forfeiture of Assets
The Defendant agrees to forfeit to the United States immediately
and voluntarily any and all assets and property, or portions thereof, subject to
forfeiture, pursuant to 18 U.S.C. § 982(a)(1), whether in the possession or
control of the United States, the Defendant or the Defendant's nominees. The

assets to be forfeited specifically include, but are not limited to, a judgment in

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the amount that was involved in the offense to which the Defendant is
pleading guilty, as well as:

(a) One 2017 Lamborghini Huracan Spyder, Vehicle
Identification Number ZHWUR1ZF7HLA05916; and

(b) One Tiffany diamond ring purchased on about
December 6, 2013, and referenced in paragraph 20 of the
Indictment.

The Defendant acknowledges and agrees that, as a result of the
acts and omissions of the Defendant, other property involved in the offense to
which the Defendant is pleading guilty has been transferred to third parties
and cannot be located by the United States upon the exercise of due diligence.
Therefore, the Defendant agrees that, pursuant to 21 U.S.C. § 853(p), the
United States is entitled to forfeit any other property of the Defendant
(substitute assets), up to the value of the property involved in the offense. The
Defendant further consents to, and agrees not to oppose, any motion for
substitute assets filed by the United States up to the amount of proceeds
obtained from commission of the offense(s). The Defendant agrees that
forfeiture of substitute assets as authorized herein shall not be deemed an
alteration of the Defendant's sentence.

The Defendant agrees and consents to the forfeiture of these
assets pursuant to any federal criminal, civil judicial or administrative
forfeiture action. The Defendant also agrees to waive all constitutional,

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statutory and procedural challenges (including direct appeal, habeas corpus, or
any other means) to any forfeiture carried out in accordance with this Plea
Agreement on any grounds, including that the forfeiture described herein
constitutes an excessive fine, was not properly noticed in the charging
instrument, addressed by the Court at the time of the guilty plea, announced at
sentencing, or incorporated into the judgment.

If the United States seeks the forfeiture of specific assets pursuant
to Rule 32.2(b)(4), the Defendant agrees that the preliminary order of
forfeiture will satisfy the notice requirement and will be final as to the
Defendant at the time it is entered. In the event the forfeiture is omitted from
the judgment, the Defendant agrees that the forfeiture order may be
incorporated into the written judgment at any time pursuant to Rule 36.

The Defendant agrees to take all steps necessary to identify and
locate all property subject to forfeiture and to transfer custody of such property
to the United States before the Defendant’s sentencing. To that end, the
Defendant agrees to make a full and complete disclosure of all assets over
which Defendant exercises control directly or indirectly, including all assets
held by nominees, to execute any documents requested by the United States to
obtain from any other parties by lawful means any records of assets owned by

the Defendant, and to consent to the release of the Defendant’s tax returns for

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the previous ten years. The Defendant further agrees to be interviewed by the
Government, prior to and after sentencing, regarding such assets and their
connection to criminal conduct. The Defendant further agrees to be
polygraphed on the issue of assets, if it is deemed necessary by the
Government. The Defendant agrees that Federal Rule of Criminal Procedure
11 and USSG § 1B1.8 will not protect from forfeiture assets disclosed by the
Defendant as part of the Defendant’s cooperation.

The Defendant agrees to take all steps necessary to assist the
Government in obtaining clear title to the forfeitable assets before the
Defendant’s sentencing. In addition to providing full and complete
information about forfeitable assets, these steps include, but are not limited to,
the surrender of title, the signing of a consent decree of forfeiture, and signing
of any other documents necessary to effectuate such transfers.

Forfeiture of the Defendant's assets shall not be treated as
satisfaction of any fine, restitution, cost of imprisonment, or any other penalty
the Court may impose upon the Defendant in addition to forfeiture.

The Defendant agrees that, in the event the Court determines
that the Defendant has breached this section of the Plea Agreement, the

Defendant may be found ineligible for a reduction in the Guidelines

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calculation for acceptance of responsibility and substantial assistance, and
may be eligible for an obstruction of justice enhancement.

The Defendant agrees that the forfeiture provisions of this Plea
Agreement are intended to, and will, survive the Defendant, notwithstanding
the abatement of any underlying criminal conviction after the execution of this
agreement. The forfeitability of any particular property pursuant to this
agreement shall be determined as if the Defendant had survived, and that
determination shall be binding upon Defendant’s heirs, successors and assigns
until the agreed forfeiture, including any agreed forfeiture amount, is collected
in full.

B. Standard Terms and Conditions
1, Restitution, Special Assessment and Fine

The Defendant understands and agrees that the Court, in
addition to or in lieu of any other penalty, shall order the Defendant to make
restitution to any victim of the offenses, pursuant to 18 U.S.C. § 3663A, for all
offenses described in 18 U.S.C. § 3663A(c)(1); and the Court may order the
Defendant to make restitution to any victim of the offenses, pursuant to 18
U.S.C. § 3663, including restitution as to all counts charged and to which the
Defendant is pleading guilty. The Defendant further understands that

compliance with any restitution payment plan imposed by the Court in no

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way precludes the United States from simultaneously pursuing other statutory
remedies for collecting restitution (28 U.S.C. § 3003(b)(2)), including, but not
limited to, garnishment and execution, pursuant to the Mandatory Victims
Restitution Act, in order to ensure that the Defendant’s restitution obligation
is satisfied.

On each count to which a plea of guilty is entered, the Court
shall impose a special assessment pursuant to 18 U.S.C. § 3013. The special
assessment is due on the date of sentencing.

The Defendant understands that this Plea Agreement imposes no
limitation as to fine.

2, Supervised Release

The Defendant understands that the offense to which the
Defendant is pleading provides for imposition of a term of supervised release
upon release from imprisonment, and that, if the Defendant should violate the
conditions of release, the Defendant would be subject to a further term of
imprisonment.

3 Immigration Consequences of Pleading Guilty
The Defendant has been advised and understands that, upon

conviction, a Defendant who is not a United States citizen may be removed

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from the United States, denied citizenship, and denied admission to the
United States in the future.
4. Sentencing Information
The United States reserves its right and obligation to report to the
Court and the United States Probation Office all information concerning the
background, character, and conduct of the Defendant, to provide relevant
factual information, including the totality of the Defendant's criminal
activities, if any, not limited to the counts to which Defendant pleads, to
respond to comments made by the Defendant or Defendant's counsel, and to
correct any misstatements or inaccuracies. The United States further reserves
its right to make any recommendations it deems appropriate regarding the
disposition of this case, subject to any limitations set forth herein, if any.
5. Financial Disclosures
Pursuant to 18 U.S.C. § 3664(d)(3) and Fed. R. Crim. P.
32(d)(2)(A)(ii), the Defendant agrees to complete and submit to the
Government within 30 days of execution of this agreement an affidavit
reflecting the Defendant's financial condition. The Defendant promises that
his financial statement and disclosures will be complete, accurate and truthful
and will include all assets in which he has any interest or over which the

Defendant exercises control, directly or indirectly, including those held by a

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spouse, dependent, nominee or other third party. The Defendant further
agrees to execute any documents requested by the United States needed to
obtain from any third parties any records of assets owned by the Defendant,
directly or through a nominee, and, by the execution of this plea agreement,
consents to the release of the Defendant's tax returns for the previous ten
years. The Defendant similarly agrees and authorizes the Government to
provide to, and obtain from, the United States Probation Office, the financial
affidavit, any of the Defendant's federal, state, and local tax returns, bank
records and any other financial information concerning the Defendant, for the
purpose of making any recommendations to the Court and for collecting any
assessments, fines, restitution, or forfeiture ordered by the Court. The
Defendant expressly authorizes the Government to obtain current credit
reports in order to evaluate the Defendant's ability to satisfy any financial
obligation imposed by the Court.
6. Sentencing Recommendations

It is understood by the parties that the Court is neither a party to,
nor bound by, this Plea Agreement. The Court may accept or reject this plea
agreement, or defer a decision until it has had an opportunity to consider the
presentence report prepared by the United States Probation Office. The

Defendant understands and acknowledges that, although the parties are

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permitted to make recommendations and present arguments to the Court, the
sentence will be determined solely by the Court, with the assistance of the
United States Probation Office. The Defendant further understands and
acknowledges that any discussions between Defendant or Defendant's
attorney and the attorney or other agents for the Government regarding any
recommendations by the Government are not binding on the Court and that,
should any recommendations be rejected, the Defendant will not be permitted
to withdraw the Defendant's plea pursuant to this plea agreement. The
Government expressly reserves the right to support and defend any decision
that the Court may make with regard to the Defendant's sentence, whether or
not such decision is consistent with the Government's recommendations
contained herein.
7. Defendant's Waiver of Right to Appeal the Sentence

The Defendant agrees that this Court has jurisdiction and
authority to impose any sentence up to the statutory maximum and expressly
waives the right to appeal Defendant's sentence on any ground, including the
ground that the Court erred in determining the applicable guidelines range
pursuant to the United States Sentencing Guidelines, except (a) the ground
that the sentence exceeds the Defendant’s applicable guidelines range as

determined by the Court pursuant to the United States Sentencing Guidelines;

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(b) the ground that the sentence exceeds the statutory maximum penalty; (c)
the ground that the sentence violates the Eighth Amendment to the
Constitution; or (d) the ground described in Section I, paragraph 6 of the Plea
Agreement that USSG § 2S1.1(b)(1)(i) should not apply as a legal
impossibility; provided, however, that if the Government exercises its right to
appeal the sentence imposed, as authorized by 18 U.S.C. § 3742(b), then the
Defendant is released from his waiver and may appeal the sentence as
authorized by 18 U.S.C. § 3742(a).
8. Parties to this Agreement
It is further understood that this agreement is limited to the
Government and cannot bind other federal, state, or local prosecuting
authorities, although the Government will bring the Defendant's cooperation,
if any, to the attention of other prosecuting officers or others, if requested.
9. Filing of Agreement
This agreement shall be presented to the Court, in open court or
in camera, in whole or in part, upon a showing of good cause, and filed in this
case, at the time of the Defendant's entry of a plea of guilty pursuant hereto.
10. Voluntariness
The Defendant acknowledges that Defendant is intentionally

entering into this Plea Agreement and is pleading guilty freely and voluntarily

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without reliance upon any discussions between the attorney for the
Government and the Defendant and Defendant's attorney, and without
promise of benefit of any kind (other than the concessions contained herein),
and without threats, force, intimidation, or coercion of any kind. The
Defendant further acknowledges Defendant's understanding of the nature of
the offense or offenses to which Defendant is pleading guilty and the elements
thereof, including the penalties provided by law, and the Defendant's complete
satisfaction with the representation and advice received from Defendant's
undersigned counsel. The Defendant also understands that the Defendant has
the right to plead not guilty or to persist in that plea if it has already been
made, and that Defendant has the right to be tried by a jury with the assistance
of counsel, the right to confront and cross-examine the witnesses against the
Defendant, the right against compulsory self-incrimination, and the right to
compulsory process for the attendance of witnesses to testify in Defendant's
defense; but, by pleading guilty, the Defendant waives or gives up those rights
and there will be no trial. The Defendant further understands that if the
Defendant pleads guilty, the Court may ask the Defendant questions about the
offense or offenses to which the Defendant pleaded, and if the Defendant
answers those questions under oath, on the record, and in the presence of

counsel (if any), the Defendant's answers may later be used against the

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Defendant in a prosecution for perjury or false statement. The Defendant also
understands that Defendant will be adjudicated guilty of the offenses to which
the Defendant has pleaded and, if any of such offenses are felonies, may
thereby be deprived of certain rights, such as the right to vote, to hold public
office, to serve on a jury, or to have possession of firearms.

11. Factual Basis

The Defendant is pleading guilty because the Defendant is in fact
guilty. The Defendant certifies that the Defendant does hereby admit that the
facts set forth below are true, and were this case to go to trial, the United
States would prove those specific facts and others beyond a reasonable doubt:

The Defendant filed for Chapter 13 personal bankruptcy
reorganization in the United States Bankruptcy Court in Ft. Lauderdale,
Florida (the “Bankruptcy Court”), on December 31, 2010.

Soon thereafter, but no later than February of 2011, and
continuing through at least in or around October of 2017, the Defendant and
his co-conspirators engaged in an illegal scheme to misappropriate, launder,
and spend at least $9,000,000 in drug proceeds while the Defendant was a
special agent with the United States Drug Enforcement Administration (the
“DEA”). To carry out the illegal scheme, the Defendant conspired to commit

and committed bank fraud, arranged to steal a civilian’s identity in relation to

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the bank fraud charges to open a bank account under false pretenses, and

defrauded the DEA and the American public of the Defendant’s honest

services. As part of the scheme the Defendant received the following bribes

and kickbacks on the following approximate dates, including some collected

and spent by his wife and co-Defendant, Nathalia Gomez-Irizarry

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

(“GOMEZ”),
Approximate Approximate Value & Description
Date
a. | Oct. 27, 2011 $6,000 check to GOMEZ
b. | Oct.-Nov. 2013 | $43,000 in total wire transfers to GOMEZ
c. | Mar. 2014 $2,500 cash payment to a car dealer in Florida for a
Land Rover purchased by GOMEZ
d. | Jan. 2015 $500,000 loan advance to the Defendant for the
purchase of real estate in Colombia
e. | Jan. 21, 2015 Use of a new sport utility vehicle
f. | Feb. 24,2015 | $9,861 payment to a line of credit held by GOMEZ ata
U.S. financial institution
g. | Aug. 14,2015 | $1,000 cash payment to GOMEZ
h. | Sometime in Television valued at $2700 gifted to the Defendant
2015
i. | Throughout Renovations to the Defendant’s and GOMEZ’s family
2015 home, including labor and materials
j- | Throughout Rent-free living accommodations for a friend of the
2015 Defendant
k. | June 16,2017 | $7,000 payment to a car dealer in Florida for purchase
of a Land Rover by GOMEZ
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In return for the foregoing bribes and kickbacks, and in

furtherance of the illegal scheme, the Defendant took official actions asa DEA

special agent, including the following violations of his lawful duty,

a.

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Filing false reports of investigation with the DEA;

Falsely documenting, and causing DEA special agents to
falsely document the true nature and source of wire transfer
instructions involved in multiple undercover DEA money
laundering investigations, including in the investigation of a
co-conspirator known to the DEA as a drug trafficker and
money launderer in Colombia;

Directing drug proceeds picked up during undercover money
laundering investigations to be delivered to the Defendant’s
co-conspirators rather than directly to associates of targeted
drug trafficking organizations;

Concealing his control of certain bank accounts while causing
DEA personnel to wire transfer over $200,000 to those
accounts under false and fraudulent pretenses;

Discouraging DEA special agents and other law enforcement
officers from investigating his co-conspirators and criminal

associates;
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f. Concealing communications and payments between himself

and his co-conspirators and criminal associates;

g. Providing sensitive law enforcement information, without

authorization, to criminal associates.

It was further part of the scheme that the Defendant used his
position as a DEA special agent secretly to divert drug proceeds from
government control to the personal control of himself and his co-conspirators
without government authorization. Central to the scheme was the Defendant
omitting, falsely reporting, and mischaracterizing key information to other
DEA special agents and supervisors regarding the movement of drug proceeds
being investigated. The Defendant’s actions enabled the Defendant, GOMEZ,
and co-conspirators to use the diverted drug proceeds to purchase jewelry,
luxury vehicles, a home, and make cash gifts to friends and family.

It was further part of the conspiracy that the Defendant and his
co-conspirators took steps to hide the true nature of, and to conceal their
participation in, certain financial transactions in the United States and
Colombia that otherwise could be traceable to their unlawful activity,
including drug distribution. For example, the Defendant and his co-
conspirators at times utilized a bank account opened with a stolen identity to

receive diverted drug proceeds and to subsequently spend or transfer such drug

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proceeds to friends, family, and business associates.
On or about the following dates a co-conspirator assisted the
Defendant and the DEA to pick up the following sums of drug proceeds in an

undercover capacity:

 

 

 

 

 

 

 

Approximate date Approximate amount Location
a, February 10, 2011 $19,000 New York City
b. February 15, 2011 $30,860 New York City
c. February 18, 2011 $5,000 New York City
d. June 20, 2011 $76,820 New York City
€. August 1, 2011 $932,400 Mexico City
f. October 24, 2011 $400,000 Houston

 

 

 

 

 

 

Following each transaction above, the Defendant caused DEA
personnel unwittingly to wire transfer a portion of the drug proceeds to certain
bank accounts that were secretly controlled by the Defendant and his co-
conspirators, including through straw account holders that the Defendant
misrepresented to DEA personnel as being unknown money laundering
targets. At the same time, co-conspirators gave the Defendant and GOMEZ
favors, luxury gifts, and personal cash payments. The Defendant failed to

report the receipt of these items to the DEA, the Bankruptcy Court, and the

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IRS. For example,

a. on approximately October 27, 2011, the Defendant directed DEA
personnel to wire transfer approximately $55,500 of $400,000 picked
up in Houston to a bank account controlled by a co-conspirator;

b. on approximately October 27, 2011, the co-conspirator gave at least
$6,000 to GOMEZ via a personal check that was deposited in a bank
account controlled by the Defendant and GOMEZ; and

c. on approximately October 30, 2011, GOMEZ paid $1,500 cash to a
car dealership in Miami as a deposit for the purchase of a BMW X5
sport utility vehicle for approximately $66,925.

Between approximately October 17, 2013 and December 4, 2013,
a co-conspirator arranged for approximately $1,075,000 in drug proceeds to be
picked up from drug traffickers in an undercover capacity by the Defendant
and the DEA. The Defendant then caused over half of the funds to be wire
transferred from DEA accounts to accounts known only to the Defendant as
being controlled by a co-conspirator. Similarly, unknown to the DEA except
the Defendant, the co-conspirator wire transferred approximately $43,000 of
the drug proceeds to GOMEZ and the Defendant during the same period.

Beginning in approximately October of 2013, the Defendant and

GOMEZ used the $43,000, as well as payments from other co-conspirators, to

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purchase luxury goods and to pay other co-conspirators, including,

a. On approximately December 6, 2013, the Defendant purchased a
Tiffany diamond ring for approximately $30,000 in cash at a jewelry
store in Bal Harbor, Florida. During the transaction, the Defendant
falsely submitted the Social Security number of another person to
the jewelry store when he was asked to give his own Social Security
number for a government form that the jewelry store was required to
file with the IRS and the Financial Crimes Enforcement Network.

b. on approximately December 26, 2013, GOMEZ wire transferred
$11,000 to the Miami-based daughter of a corrupt Colombian
government official, disguised as a commercial transaction by a
Florida shell company held in the name of GOMEZ known as NGI
Global Export; and

c. on approximately March 19, 2014, the Defendant and GOMEZ
bought a 2014 Land Rover sport utility vehicle in part with cash
delivered by GOMEZ, in part with cash delivered to the car dealer
by co-conspirators, and in part through a line of credit in GOMEZ’s
name.

On approximately October 10, 2014, a co-conspirator arranged a

DEA undercover pick up of approximately $120,000 in bulk cash from

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suspected drug traffickers in Atlantic City, New Jersey. The Defendant then
directed DEA personnel to wire transfer approximately $116,000 of the
proceeds to a bank account known only to the Defendant as being controlled
by another co-conspirator. Unreported to the DEA, the Bankruptcy Court,
and the IRS, that co-conspirator subsequently paid the Defendant the diverted
funds by delivering cash to the Defendant in Colombia.

On approximately January 12 and January 26, 2015, a co-
conspirator arranged for the DEA to pick up bulk cash totaling approximately
1 million euros from suspected drug traffickers in the Netherlands that were
then transferred to an undercover DEA bank account in the Middle District of
Florida, where it was converted into U.S. dollars. From the Middle District of
Florida the majority of the funds were disbursed according to directions
communicated by the Defendant via interstate telephone calls, emails, texts,
and chats, for at least ten wire transfers that took place throughout January
and February of 2015, including the following financial transactions:

a. on approximately January 21, 2015, the Defendant caused DEA
personnel in Tampa, Florida, to wire transfer $141,641.05 of the
currency picked up in the Netherlands to a co-conspirator in Florida;

b. on approximately January 21, 2015, the Defendant and two co-

conspirators used the $141,641.05 at a Florida car dealership to

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purchase a 2015 Land Rover for use by the Defendant and the co-

conspirators;

. on approximately February 18, 2015, without disclosing

involvement by the co-conspirators, the Defendant caused DEA
personnel in Tampa, Florida, to wire transfer approximately $30,000
of the currency picked up in the Netherlands to a bank account in

Spain on behalf of a co-conspirator based in Colombia;

. ON approximately February 19, 2015, the Defendant caused DEA

personnel in Tampa, Florida, to wire transfer approximately $50,000
of the currency picked up in the Netherlands to a domestic bank

account controlled by a co-conspirator in Florida; and

. On approximately February 24, 2015, the co-conspirator in Florida

made a $9,861 payment to a line of credit held by GOMEZ for the
aforementioned purchase of a 2014 Land Rover by GOMEZ and the
Defendant.

On approximately February 26 and March 5, 2015, the

Defendant caused DEA agents in Tampa, Florida, to unwittingly file official

investigative reports that contained material falsehoods and omissions, and

concealed the true nature, location, source, ownership, and control of the drug

proceeds picked up in the Netherlands. For example, the Defendant knew that

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the $30,000 wired to Spain on February 18, 2015, was on behalf of a co-
conspirator in Colombia, and the Defendant intentionally withheld that
information from DEA colleagues in Tampa, Florida. This willful, material
omission caused multiple false reports to be filed at DEA offices in Tampa,
Florida, at DEA Headquarters in Alexandria, Virginia, and at the United
States Embassy in Madrid, Spain.

On approximately March 19, 2015, the Defendant and his co-
conspirators used the name, passport, Social Security number, and forged
signature of an individual known herein as Victim 1, to open a bank account
in a Federally insured bank in the name of Victim 1 without Victim 1’s
knowledge or consent. As part of the transaction, the Defendant’s email
address was falsely provided to the bank as Victim 1’s purported contact
information.

Beginning on approximately March 27, 2015, Victim 1’s account
was used by the Defendant and his co-conspirators to steal over $11,000 from
Victim 1, as well as to conceal the diversion of drug proceeds away from DEA
undercover money laundering investigations on at least the following five

occasions:

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APPROXIMATE DATE AMOUNT
03/27/15 $48,500.00
05/12/15 $55,000.00
03/09/16 $44,343.00
04/15/16 $35,500.00
08/23/16 $23,200.00

 

 

 

 

The diverted DEA funds were used for personal expenses and
business pursuits by the Defendant, GOMEZ, and the Defendant’s co-
conspirators. For example,

a. the Defendant and his co-conspirators used forged checks to transfer
approximately $126,000 of the diverted funds from Victim 1’s
account to a co-conspirator located in the Middle District of Florida.
The co-conspirator then delivered these funds in cash to the
Defendant in Colombia; and

b. the Defendant and his co-conspirators used forged checks to transfer
approximately $179,000 from Victim 1’s account to another co-
conspirator. The co-conspirator then paid these funds to the
Defendant at least in part by depositing cash into a bank account
belonging to GOMEZ’s mother.

Beginning in approximately January of 2015, the Defendant
utilized drug proceeds diverted from active DEA investigations, including

through Victim 1’s account, to buy himself and GOMEZ a home in

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Cartagena, Colombia, for approximately $767,000. As part of the transaction,
the Defendant received $500,000 from a co-conspirator in Colombia. The
$500,000 was transferred to the Defendant through the delivery of at least 50
cash payments to persons designated by the Defendant, including but not

limited to the following,

 

Approximate Approximate Value & Description
Date

a. | Jan. 13, 2015 $41,000 cash payments to holder of the Defendant’s real

estate debt

b. | Jan. 14, 2015 $41,000 cash payments to holder of the Defendant’s real

estate debt

c. | Feb, 27-Mar. 2, | $64,000 cash payments to holder of the Defendant’s real

2015 estate debt

d. | Mar. 9, 2015 $20,000 cash payments to GOMEZ’s mother

 

 

 

 

 

e. | Mar. 24-25 $22,000 cash payments to GOMEZ’s mother
2015
f. | Jun. 4-10, 2015 | $47,000 cash payments to holder of the Defendant’s real
estate debt

 

 

 

 

 

 

In approximately June of 2017, the Defendant and GOMEZ
purchased a 2017 Land Rover sport utility vehicle for $134,582.48. As part of
the transaction, the Defendant received $7,000 from a co-conspirator that was
paid directly to the Land Rover dealer on behalf of the Defendant and
GOMEZ.

In approximately December of 2017, the Defendant and
GOMEZ signed a contract to sell their home in Cartagena, Colombia, and

used a portion of the proceeds to purchase a home in Parkland, Florida. As

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part of the transaction, on or about January 30, 2018, the Defendant and
GOMEZ wire transferred $71,000 from an account in Colombia to a bank
account in the United States, knowing that the funds were traceable to some
unlawful source. The Defendant and GOMEZ subsequently caused at least
three additional wire transfers from Colombia to the United States in support
of the Parkland home purchase, including a total of $400,925 traceable to
some unlawful source.

On approximately August 12, 2019, the Defendant and GOMEZ
sold their home in Parkland and transferred at least $366,000 of the proceeds
of the sale to a family member of the Defendant.

On approximately December 18, 2019, the Defendant and
GOMEZ transferred about $286,000 from the bank account of the
Defendant’s family member to a mortgage company in Puerto Rico as
payment towards the purchase of real property by the Defendant and
GOMEZ at 611 Camino Carraizo St., Sabanera Dev., Dorado, Puerto Rico.

12. Entire Agreement

This Plea Agreement constitutes the entire agreement between

the Government and the Defendant with respect to the aforementioned guilty

pleas and no other promises, agreements, or representations exist or have been

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made to the Defendant or the Defendant's attorney with regard to such guilty
pleas.
13. Certification
The Defendant and the Defendant's counsel certify that this Plea
Agreement has been read in its entirety by (or has been read to) the Defendant
and that the Defendant fully understands its terms.

DATED this _|4 th day of September , 2020.

DEBORAH L, CONNOR

  
 
 

 

 

 

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